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     JOSEPH MATTHEW LYONS
 9

10                           IN THE UNITED STATES DISTRICT COURT

11                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

12

13   TRIBUO PARTNERS LLC,                                   Case No.: 3:22-cv-02930-TLT

14                        Plaintiff,                       DEFENDANTS’ AMENDED ANSWER
                                                           TO PLAINTIFF’S SECOND
15          vs.                                            AMENDED COMPLAINT

16   WILSON SONSINI GOODRICH & ROSATI, P.C.                Courtroom: 9 – 19th Floor
     and JOSEPH MATTHEW LYONS,                             Judge:      Hon. Trina L. Thompson
17                                                         Complaint Filed: May 17, 2022
                          Defendants.                      FAC Filed:         June 13, 2022
18                                                         SAC Filed:         September 14, 2022

19

20          Defendants Wilson Sonsini Goodrich & Rosati, P.C. and Joseph Matthew Lyons (collectively
21   “Defendants”) submit an amended answer to Plaintiff Tribuo Partners LLC’s (“Plaintiff” or
22   “Tribuo”) Second Amended Complaint (“Complaint”), Case Number 3:22-cv-02930-TLT, as
23   follows:
24                                              PARTIES

25          1.     Defendants admit that “Tribuo Partners LLC” is a Colorado limited liability

26   company. Defendants are without sufficient knowledge or information to admit or deny the

27   remainder of paragraph 1.

28          2.     Defendants admit the allegations of paragraph 2.

     DEFENDANTS’ AMENDED ANSWER TO PLAINTIFF’S SECOND AMENDED               CASE NO.: 3:22-CV-02930-TLT
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 1          3.      Defendants admit the allegations of paragraph 3.

 2                                     JURISDICTION AND VENUE

 3          4.      The allegations of paragraph 4 are legal assertions and do not require a response.

 4          5.      The allegations of paragraph 5 are legal assertions and do not require a response.

 5          6.      The allegations of paragraph 6 are legal assertions and do not require a response.

 6                                      FACTUAL BACKGROUND

 7          7.      Defendants are without sufficient knowledge or information to admit or deny

 8   paragraph 7.

 9          8.      Defendants admit that in or around 2019, Scott Michael Legg (“Legg”) of Tribuo

10   communicated with Robert T. Ishii (“Ishii”), a partner in Wilson Sonsini’s San Francisco office.

11   Defendants deny the remaining allegations of paragraph 8.

12          9.      Defendants deny the allegations of paragraph 9.

13          10.     Defendants deny the allegations of paragraph 10.

14          11.     Defendants are without sufficient knowledge or information to admit or deny the first

15   and second sentences of paragraph 11. Defendants deny that “Lyons represented to Tribuo that he

16   and his practice group had millions of dollars in annual, portable business generation.”

17          12.     Defendants deny the allegations of paragraph 12.

18          13.     Defendants admit that Legg contacted Rob Suffoletta (“Suffoletta”), a partner in

19   Wilson Sonsini’s Austin office. Defendants deny the remaining allegations of paragraph 13.

20          14.     Defendants admit that “Suffoletta responded to [Legg’s June 11, 2020 email].”

21   Defendants deny the remaining allegations of paragraph 14.

22          15.     Defendants admit that they received an email on June 12, 2020, not on June 14, 2020,

23   as alleged in paragraph 15. Defendants are without sufficient knowledge to deny or admit the

24   allegations of paragraph 15.

25          16.     Defendants admit that they received an email on June 17, 2020, not “three days later”

26   from June 12, 2020 as alleged in paragraph 15. Defendants are without sufficient knowledge to deny

27   or admit the allegations of paragraph 16.

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     DEFENDANTS’ AMENDED ANSWER TO PLAINTIFF’S SECOND AMENDED                  CASE NO.: 3:22-CV-02930-TLT
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 1          17.     Defendants admit that “[o]n September 21, 2020, [Legg] emailed Suffoletta.”

 2   Defendants deny the remaining allegations of paragraph 17.

 3          18.     Defendants admit that Lyons and Suffoletta engaged in “several subsequent meetings

 4   and conversations,” but deny that it was because of anything Tribuo did nor did not do, or that

 5   Tribuo facilitated these conversations.

 6          19.     Defendants admit that Lyons “join[ed] the Austin office of Wilson Sonsini.”

 7   Defendants deny the allegations of paragraph 19.

 8          20.     Defendants admit the allegations of paragraph 20.

 9          21.      Defendants admit that “Legg reached back out to Suffoletta to congratulate Wilson

10   Sonsini on Lyons joining the firm and to inquire (again) as to whom Tribuo should send the invoice

11   for Lyon’s placement.” Defendants deny the remaining allegations of paragraph 21.

12          22.     Defendants admit that Terri Foland, Wilson Sonsini’s Senior Manager of Lateral

13   Partner Recruiting, informed Legg that the firm would not pay Tribuo. Defendants deny the

14   remaining allegations of paragraph 22.

15          23.     Defendants deny the allegations of paragraph 23.

16          24.     Defendants deny the allegations of paragraph 24.

17          25.     Defendants deny the allegations of paragraph 25.

18          26.     Defendants deny the allegations of paragraph 26.

19          27.     Defendants admit that they have not paid Tribuo. Defendants deny the remaining

20   allegations of paragraph 27.

21                                             CAUSES OF ACTION

22                                      FIRST CAUSE OF ACTION

23                                  (Breach of Contract – Wilson Sonsini)

24          28.     Defendants incorporate by reference their responses to paragraphs 1 through 27.

25          29.     Defendants deny the allegations of paragraph 29.

26          30.     Defendants deny the allegations of paragraph 30.

27          31.     Defendants deny the allegations of paragraph 31.

28          32.     Defendants deny the allegations of paragraph 32.
                                                      3
     DEFENDANTS’ AMENDED ANSWER TO PLAINTIFF’S SECOND AMENDED                 CASE NO.: 3:22-CV-02930-TLT
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 1          33.    Defendants deny the allegations of paragraph 33.

 2                                    SECOND CAUSE OF ACTION

 3                                 (Quantum Meruit – Wilson Sonsini)

 4          34.    Defendants incorporate by reference their responses to paragraphs 1 through 33.

 5          35.    Defendants deny the allegations of paragraph 35.

 6          36.    Defendants deny the allegations of paragraph 36.

 7          37.    Defendants deny the allegations of paragraph 37.

 8                                     THIRD CAUSE OF ACTION

 9                                (Promissory Estoppel – Wilson Sonsini)

10          38.    Defendants incorporate by reference their responses to paragraphs 1 through 37.

11          39.    Defendants are without sufficient knowledge or information to admit or deny the first

12   sentence of paragraph 39. Defendants deny all other allegations of paragraph 39.

13          40.    Defendants deny the allegations of paragraph 40.

14          41.    Defendants deny the allegations of paragraph 41.

15          42.    Defendants deny the allegations of paragraph 42.

16                                   FOURTH CAUSE OF ACTION

17                                     (Breach of Contract – Lyons)

18          43.    Defendants incorporate by reference their responses to paragraphs 1 through 42.

19          44.    Defendants deny the allegations of paragraph 44.

20          45.    Defendants deny the allegations of paragraph 45.

21          46.    Defendants deny the allegations of paragraph 46.

22          47.    Defendants deny the allegations of paragraph 47.

23          48.    Defendants deny the allegations of paragraph 48.

24                                     FIFTH CAUSE OF ACTION

25                                      (Quantum Meruit – Lyons)

26          49.    Defendants incorporate by reference their responses to paragraphs 1 through 48.

27          50.    Defendants deny the allegations of paragraph 50.

28          51.    Defendants deny the allegations of paragraph 51.
                                                     4
     DEFENDANTS’ AMENDED ANSWER TO PLAINTIFF’S SECOND AMENDED               CASE NO.: 3:22-CV-02930-TLT
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 1          52.     Defendants deny the allegations of paragraph 52.

 2                                      SIXTH CAUSE OF ACTION

 3                                      (Promissory Estoppel – Lyons)

 4          53.     Defendants incorporate by reference their responses to paragraphs 1 through 52.

 5          54.     Defendants are without sufficient knowledge or information to admit or deny the first

 6   sentence of paragraph 54. Defendants deny all other allegations of paragraph 54.

 7          55.     Defendants deny the allegations of paragraph 55.

 8          56.     Defendants deny the allegations of paragraph 56.

 9          57.     Defendants deny the allegations of paragraph 57.

10          As separate affirmative defenses to the Complaint, Defendants allege:

11                                      AFFIRMATIVE DEFENSES

12                              AFFIRMATIVE DEFENSE NUMBER ONE

13                                   (Failure to State a Cause of Action)

14          Plaintiff’s Complaint, and each purported cause of action, fails to state facts sufficient to state

15   a cause of action against Defendants.

16                             AFFIRMATIVE DEFENSE NUMBER TWO

17                                              (Unclean Hands)

18          In conversations with Lyons and Ishii and Suffoletta, Legg either intentionally or negligently

19   misrepresented to Lyons that he represented Wilson Sonsini, and to Ishii and Suffoletta that he

20   represented Lyons. In or around June 2020, Legg called Lyons and said that he was representing

21   Wilson Sonsini in connection with recruitment. However, Legg was not in fact representing Wilson

22   Sonsini. On or about June 11, 2020, Legg told Suffoletta that Legg was representing a group in

23   Austin, Texas, headed by Lyons. However, Legg was not, in fact, representing Lyons. By reason of

24   Plaintiff’s unclean hands, Plaintiff is barred by the doctrine of unclean hands from recovering

25   damages, if any.

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     DEFENDANTS’ AMENDED ANSWER TO PLAINTIFF’S SECOND AMENDED                    CASE NO.: 3:22-CV-02930-TLT
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 1                             AFFIRMATIVE DEFENSE NUMBER THREE

 2                                              (Reasonableness)

 3          At all relevant times, Defendants acted honestly and reasonably. The allegations, requests

 4   and demands in Plaintiff’s Complaint are not reasonable.

 5                              AFFIRMATIVE DEFENSE NUMBER FOUR

 6                                                   (Fraud)

 7          In conversations with Lyons and Ishii and Suffoletta, Legg either intentionally or negligently

 8   misrepresented to Lyons that he represented Wilson Sonsini, and to Ishii and Suffoletta that he

 9   represented Lyons. In or around June 2020, Legg called Lyons and said that he was representing

10   Wilson Sonsini in connection with recruitment. However, Legg was not in fact representing Wilson

11   Sonsini. On or about June 11, 2020, Legg told Suffoletta that Legg was representing a group in

12   Austin, Texas, headed by Lyons. However, Legg was not, in fact, representing Lyons. To the extent

13   that the court finds that there was a written or oral contract between Tribuo and Lyons and/or Wilson

14   Sonsini, it is invalid and cannot be enforced based on Tribuo and Legg’s fraud or misrepresentation.

15   Legg knew that his representations were not true, but made the representations to Wilson Sonsini

16   and Lyons to persuade each of them to enter into a contract.

17                              AFFIRMATIVE DEFENSE NUMBER FIVE

18                                                 (Bad Faith)

19          In conversations with Lyons, Ishii and Suffoletta, Legg either intentionally or negligently

20   misrepresented to Lyons that he represented Wilson Sonsini, and to Ishii and Suffoletta that he

21   represented Lyons. In or around June 2020, Legg called Lyons and said that he was representing

22   Wilson Sonsini in connection with recruitment. However, Legg was not in fact representing Wilson

23   Sonsini. On or about June 11, 2020, Legg told Suffoletta that Legg was representing a group in

24   Austin, Texas, headed by Lyons. However, Legg was not, in fact, representing Lyons. To the extent

25   that the court finds that a contract exists, Plaintiff’s claims are made in bad faith and/or for improper

26   and unfair purposes.

27   ///

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                                                         6
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 1                                AFFIRMATIVE DEFENSE NUMBER SIX

 2                                             (Unknown Defenses)

 3             Defendants presently have insufficient knowledge or information on which to form a belief

 4   as to whether they may have additional, as yet unstated, defenses available. Defendants reserve the

 5   right to assert additional defenses in the event discovery indicates that they would be appropriate.

 6                                                  PRAYER

 7             Defendants pray that judgment be entered against Plaintiff as follows:

 8             1.     Dismissing Plaintiff’s Complaint in its entirety, and with prejudice, and adjudicating

 9   that Defendants owe nothing to Plaintiff;

10             2.     Judgment in favor of Defendants; and

11             3.     An award to Defendants of such other and further relief as the Court deems just and

12   proper.

13   Dated: October 17, 2022                              DUANE MORRIS LLP
14
                                                    By:       /s/ Allison Lane
15                                                        Allison Lane
                                                          Justin J. Fields
16                                                        Bridget S. Cho
                                                          Attorneys for Defendants
17                                                        WILSON SONSINI GOODRICH & ROSATI, P.C.
                                                          and JOSEPH MATTHEW LYONS
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